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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

   ULTRAVISION TECHNOLOGIES, LLC,                 §
                                                  §
               Plaintiff,                         §
                                                  §
   v.                                             §        Case No. 2:18-cv-00100-JRG-RSP
                                                  §        LEAD CASE
   GOVISION, LLC,                                 §
                                                  §
               Defendant.                         §

                                              ORDER

         Before the Court are four motions titled Plaintiff Ultravision Technologies, LLC

   (“Ultravision”) Unopposed Motion to Withdraw Attorney and to Terminate Electronic Notices
  .
   (“Motions”). Dkt. No. 308-11. Ultravision’s Motions each seek to withdraw an attorney that no

  longer represents Ultravision.

         After due consideration, the Court GRANTS the Motions. It is therefore ORDERED

  that Timothy J. Rousseau, Alessandra Carcaterra Messing, Sarah G. Hartman and John Andrew

  Rubino, each of the firm Brown Rudnick LLP, are withdrawn as attorney of record in the above-

  captioned matter and all corresponding electronic notifications shall be terminated. The

  remaining counsel of record of McKool Smith, P.C. and Fabricant LLP continue to represent

  Ultravision.
          SIGNED this 3rd day of January, 2012.
         SIGNED this 15th day of July, 2020.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE
